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14
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15
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
     UNITED STATES OF AMERICA,                 SA CR No. 19-061-JVS
17
                Plaintiff,                     GOVERNMENT’S BENCH BRIEF REGARDING
18                                             DEFENDANT’S CLAIMS ABOUT THE EAGAN
                      v.                       AVENATTI LLP BACK-UP TAPES
19
     MICHAEL JOHN AVENATTI,
20
                Defendant.
21

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23         Plaintiff United States of America, by and through its counsel

24   of record, the Acting United States Attorney for the Central District

25   of California and Assistant United States Attorneys Brett A. Sagel

26   and Alexander C.K. Wyman, hereby files its Bench Brief regarding

27   defendant’s claims about the Eagan Avenatti Back-Up Tapes.

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 1         This Brief is based upon the attached memorandum of points and

 2   authorities, the evidence and testimony at trial, the files and

 3   records in this case, and such further evidence and argument as the

 4   Court may permit.

 5    Dated: August 19, 2021               Respectfully submitted,

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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2           On August 19, 2021, defendant claimed in Court that he just

 3   learned about the back-up tapes to the Eagan Avenatti LLP (“EA LLP”)

 4   servers and he demanded access to the back-up tapes that he claimed

 5   were not provided to him, which he stated were “clearly Brady.”

 6   First, for the reasons the Court stated in its prior orders, the EA

 7   LLP digital devices do not belong to defendant and he was not

 8   entitled to a complete copy of the EA LLP back-up tapes.            (CR 63,

 9   199.)    Second, on June 28, 2019, the government produced to defendant

10   the filed search warrant returns and inventory, including the search

11   warrant return and inventory from Judy Regnier’s residence,

12   USAO_00134262-USAO_00134272.        The back-up tapes are clearly listed on

13   the inventory returns, specifically at USAO_00134268.            Finally, in

14   the February 18, 2020, status report the government filed in this

15   matter, the government specifically told the Court -- and defendant -

16   - the following:

17           IRS-CI also seized approximately 69 computer backup tapes
             from EA Employee 1’s residence. The Prosecution Team
18           understands that these backup tapes relate to data that is
             stored on the EA LLP server. Because IRS-CI was able to
19           obtain a forensic copy of the EA LLP server, IRS-CI and the
             USAO will not be searching the backup tapes. Instead,
20           these backup tapes will be returned to the court-appointed
             bankruptcy trustee for EA LLP.
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22   (CR 99 at 13.)     At all times defendant knew about and was told about

23   the back-up tapes and the plans not to search these back-up tapes.

24   Defendant’s accusations in Court were not based in fact.

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